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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:13CR287
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
ANDRES BARRAZA,                                 )
J. MERCED RODRIGUEZ-BARAJAS,                    )
ISMAEL BAJO PENA,                               )
RUBEN AVILA BARRAZA, and                        )
JESUS GERMAN-DIAZ,                              )
                                                )
                      Defendants.               )

       This matter is before the court on the motion for an extension of time by defendant J.
Merced Rodriguez-Barajas (Rodriguez-Barajas) (Filing No. 50). Rodriguez-Barajas seeks until
November 18, 2013, in which to file pretrial motions in accordance with the progression order.
Rodriguez-Barajas' counsel represents that government's counsel has no objection to the motion.
Upon consideration, the motion will be granted, and the pretrial motion will be extended to
November 18, 2013, as to all defendants.


       IT IS ORDERED:
       Defendant Rodriguez-Barajas' motion for an extension of time (Filing No. 50) is granted.
All defendants are given until on or before November 18, 2013, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendants in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between October 15, 2013, and
November 18, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendants' counsel require additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 15th day of October, 2013.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
